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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                  )
                                               )
               Plaintiffs,                     )
                                               )
vs.                                            )
                                                     No. 1:17-cv-00365-DAE-AWA
                                               )
GRANDE COMMUNICATIONS                          )
NETWORKS LLC,                                  )
                                               )
               Defendant.
                                               )

                                CERTIFICATE OF SERVICE

       The undersigned certifies that on November 15, 2018, it served via electronic mail to all

counsel of record a copy of all documents filed under seal via the Court’s CM/ECF system at

ECF No. 222.



                                                    /s/ Zachary C. Howenstine

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